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                 JANIAH MONROE, et. al. v. STEVEN MEEKS, et. al. Case No. 3:18-CV-00156-NJR
                         United States District Court for the Southern District of Illinois
                              Menard Update Report from the Second Co-monitor
                                      Julie graham, MS submitted 6/21/24



           This is a follow up to the report I provided the court in April. That report was also provided to
           Warden Wills. This one will be as well.

                                           Shower violations and assaults

           I requested to speak to seven individuals and spoke to ve over the past week. I was told two
           others declined because they wanted to go to the yard. I reached out to Warden Wills multiple
           times the past week after speaking with incarcerated people and getting an email from the
           ACLU. He responded to the earlier emails and said he would look into the concerns I raised. I
           have not yet heard back about the issues I raised today or the outcomes of the earlier
           requests.

           Safety issues
           Menard has a unit, West House, with no cameras and there are transgender women placed
           there. Transgender people are a vulnerable population who are targeted by others and cameras
           provide some measure of safety and accountability. Transgender people should be placed in
           areas that are safer rather than less safe.

           Culture
           Overall, transgender individuals at Menard do not feel safe and express higher degrees of fear
           than other individuals I have interviewed. Even in protective custody, women report they do
           not feel safe. Multiple individuals stay that the culture at Menard is particularly brutal towards
           transgender women. An incarcerated person stated that there is a “culture that transgenders
           (sic) and PCs are not allowed in the general population. When they gure out you are
           transgender they push you out of their area.” An inmate threatened her that he would have a
           CO write her tickets to get her out of their area. She didn’t believe that and then she got two
           tickets.

           I have spoken with the Warden and still transgender people consistently report that they are
           harassed by other incarcerated people and by sta . They report a culture of retaliation. I worry
           about retaliation for these women in writing this report.

           Women who leave their cell report they are not protected by sta . “When I walk down the
           gallery people try to grab my butt.” This also means that they potentially “could reach out and
           smack you or stab you.” These women are terri ed.

           While I was writing this report, I got an email from the ACLU about a transgender woman who
           has been vomiting up blood and allegedly she was on the oor and other incarcerated people
           had o cers come by but the o cers did not intervene. (I reached out to the warden about this
           and assume the IDOC sta who also received the email reached out to the medical providers.)
           Apparently she was to have a colonoscopy in March that was cancelled because there was not
           a female sta member to search her. There are supposed to be mechanisms in place to ensure
           that medical writs are appropriately sta ed.
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                           Even PC is not safe. “The most messed up part is that PC is the most violent area in Menard.”
                           They “Throw feces and pee at each other.” “They let people come around who can harass
                           you.” “In other places when they put you in pc it’s actual protective custody.”

                           In the April report, an individual stated that sta incite incarcerated people to throw urine or
                           feces at transgender women. A di erent individual brought that issue up this week. She states
                           that sta encourage or direct incarcerated people to be abusive of transgender people.

                           The sta who set up or attend to my phone interviews consistently misgender the individuals.
                           They know they are talking to a monitor for the Monroe case. I assume they know the
                           individuals are transgender. Misgendering individuals after several years of cycle trainings and
                           warden’s interventions demonstrates that sta are not following policies.

                           One individual reported that the choices at Menard were “Get jumped or go to a place where
                           people throw feces and piss at you.” (PC)

                           Assaults
                           Previously, in the April report there were other women who reported being sexually assaulted at
                           Menard.

                           This time that was true as well. One individual was allegedly sexually assaulted by a
                           custody o cer. She had the foresight to gather up the semen and send it to attorneys as well
                           as le an IA grievance. She states the state police lab is dealing with the sample. By her report,
                           it took several days for the o cer who allegedly assaulted her to be removed from her unit. He
                           then later replaced by the o cer’s brother. While the second o cer may be completely honest
                           and upstanding, it has the appearance of retaliation and the impact of retaliation. She is very
                           fearful and having him serve her food trays means she doesn’t eat because she is afraid he will
                           tamper with her food. She does not come out of her cell. Regardless of the intention, the
                           impact of having the brother of the accused rapist now working on her unit is chilling.

                           Another individual has only recently come out as transgender. It wasn’t safe to disclose her
                           gender identity. This was what I head heard in 2022 at Menard. She reports that before she
                           was known to be transgender, she was doing ne at Menard—no one was picking on her, she
                           had the ability to use the law library, to use the yard. Once she saw a gender mental health
                           specialist, sta behavior towards her changed. Custody sta accompanied her to see the MH
                           gender specialist and sta know what the gender specialist does. The incarcerated person
                           heard from cellies that custody sta told them she was transgender. She reports that she was
                           sexually assaulted in the showers in March. She has not yet seen an MHP for treatment. (I
                           contacted Dr. Puga today who said he would ensure she saw a MHP.)

                           If it’s true that custody sta is outing transgender women, they are intentionally placing them in
                           harm’s way. Given that the culture at Menard is reported to be very highly anti trans, outing
                           people is very serious. Further, the fact of an individual’s transgender identity should be
                           protected health information. No one should out transgender women because of safety issues,
                           but also it is health information and a HIIPAA violation. “Guards are tight with inmates, here.”

                           That individual states she has requested PC multiple times and has been turned down for it
                           and returned to GP. She reports the culture in GP is such that people in PC and transgender
                           people are disliked or hated. Individuals in GP tell them they need to be PC and they are not
                           wanted in GP. She reports that one incarcerated individual told her that he would have a
                           custody sta write her up if she didn’t go to PC, that she didn’t belong in GP. She subsequently
                           was written up shortly thereafter. She led a grievance about feces being thrown at her and
                           according to her the grievance made it into the hands of the individual who she implicated in
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                     the grievance. Several people reported they had seen the grievance. She had multiple people
                     let her know that she was a snitch for ling the grievance against that speci c individual. If this
                     is true, ling grievances is not only useless but harmful. The only recourse that individuals
                     have, ling grievances, is not available.

                     Showers
                     Individuals report washing up in their cell. They report that the o cers remove the shower
                     curtains and if they, the incarcerated people, request them, they are told they cannot shower.
                     The sta allegedly do not come by to get them out of their cell for showers. One individual had
                     not had an o cer come by to let her out for a shower for months until the other day. As I stated
                     earlier, one individual was allegedly assaulted in the showers. The sta are apparently not
                     following the policies around showering and shower curtains.

                     One of the women wasn’t o ered showers and didn’t have a working sink. She informed sta
                     and it took over a week for someone to come and look at her sink. She had toilet water only.

                     Grievances
                     People report not being able to get the forms from sta . Reportedly, it’s been going on for a
                     month. Several of the women report when they raise concerns abut mistreatment, they are
                     infracted. Given that grievances don’t help, and get you targeted as a snitch, individuals are
                     reluctant to le them. If the grievance involves sta , individuals report retaliation.

                     Retaliation
                     The woman who led the rape complaint alleges the CO who assaulted her provides tobacco
                     to incarcerated people. “Inmates tell me to leave the situation alone. Ones (who) that particular
                     CO who brings in tobacco for are threatening me.” She reports “I just was threatened—
                     someone was trying to squirt feces from a lotion bottle on me.”

                     When transgender people le grievances they report that custody sta disclose the contents of
                     the grievance to the individuals the grievance named. “O cers tell the people I was threatened
                     by” and then “I was jumped by them. Stay quiet or you will get jumped.”

                     One individual asked to have their name removed from the transgender list, stating he was no
                     longer female and that he did not trust the system. He was afraid that the Monroe suit would
                     be used against him to interfere with his release date. Again, fear of retaliation.

                     Cells
                     The women are placed in cells with incarcerated men with whom they feel unsafe. This is one
                     of the experiences of retaliation. One individual I contacted the warden about in April reported
                     this and the warden informed me she was in a cell by herself. Right after that contact, another
                     inmate was placed in her cell. She is terri ed of the cisgender men at Menard. One woman
                     stated that they placed a man she has a keep separate from several cells away from her and it
                     very much felt like retaliation for ling a PREA allegation.

                     People are in segregation with the people they are are frightened of.

                     Pre release planning
                     One woman states she was told that she was being denied release because she did not
                     have a place to stay. She reacted inappropriately to that news and was placed in seg as
                     a result. She states she was told that no where in Illinois was willing to take her. She
                     stated that no one did planning with her other than to tell her that she couldn’t be
                     released to another state. She reports she was served violation papers for failure to
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     reside in an IDOC assigned residence. She believes she is past her MRD and being
     kept at a maximum facility. Needless to say she is frustrated.

     I raised the issue of pre release planning with Warden Wills after speaking with two
     women in April. He agreed to address this. It’s very hard to nd appropriate halfway
     houses for transgender women. Re-entry is a critical time and it’s easy to slip back into
     old patterns. Many trans women nd prison to be a revolving door.

     Searches
     No one complained about searches and I wonder if that is largely due to the fact that
     many of them are not leaving their cells. As mentioned earlier, there are supposed to be
     mechanisms in place to ensure appropriate staf ng for medical and legal writs.

     MH Groups
     Apparently, these aren’t happening according to some of the women. Another stated she had
     to choose between the group and going for medical care.

                                                —————-

     As a monitor, I report the facts as I know them. I speak with incarcerated people to discover
     what their experiences are and then report these to the wardens and other IDOC sta in order
     to have them intervene or investigate. I’ve had very positive conversations and exchanges with
     the Warden, and in April, I even heard from one of the women that the Warden apologized to
     her.

     I do not believe everything that I hear from incarcerated people. However, when there are
     consistent reports across time and I’ve provided information to the IDOC about the concerns
     and they persist, I am alarmed. I contact the incarcerated people to ensure that the changes
     that are to be made actually are manifested. The culture seems intractable. The situation for
     transgender women at Menard continues to be distressing. The fear of retaliation remains.
     There was a new reported sta sexual assault, and reported indi erence on the part of custody
     sta to an individual vomiting blood. Whether intentional or not, placing the brother of an
     alleged rapist who is being investigated in the same unit with the victim appears retaliatory.
     Reports that showers are not being appropriately provided or curtains are taken down should
     not be occurring. Assaults in showers should not occur. One individual reports they make
     incarcerated people go without food or water. I am deeply concerned about the safety of
     transgender women at Menard.

     While I believe that both the Warden and Dr. Puga responds to my requests, it is ine ective in
     protecting or caring for individuals. There is no self monitoring for accountability in the system.
     The process of monitors and attorneys reporting these violations Is not e ective in making the
     changes that the court has indicated.
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